           Case 1:21-cr-00642-JDB Document 54 Filed 09/02/22 Page 1 of 5




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :       CRIMINAL NO. 21-cr-642 (JDB)
                v.                            :
                                              :
DARRELL NEELY,                                :
                                              :
                       Defendant.             :


           MOTION TO REVOKE DEFENDANT’S PRETRIAL RELEASE AND
                    REQUEST FOR IMMEDIATE HEARING

         Defendant Darrell Neely is believed to have absconded. According to his Pretrial Services

Officer, he has not reported to Pretrial Services since August 2, 2022, and has a bench warrant for

his arrest in connection with failure to appear in a local criminal case. His attorney also reported

that she has been unable to contact him. Most notably, it was recently discovered that an individual

with whom Defendant was living in North Carolina reported to an FBI agent that Defendant stated

to her that has over $200,000 from the sale of real property in Washington, D.C., and that he

intends to flee using these funds. Defendant is undoubtedly in violation of his pretrial conditions

of release, poses an obvious risk of flight, and his pretrial release should be revoked.

         In addition, given that Defendant appears to be a fugitive, the Government respectfully

asks the Court for an immediate hearing to address this revocation and consider whether to vacate

the trial date of October 5, 2022, so that the Court and parties do not waste resources preparing for

trial when the Defendant has absconded, and it is unknown whether he will be located prior to his

trial.
             Case 1:21-cr-00642-JDB Document 54 Filed 09/02/22 Page 2 of 5




                                           BACKGROUND

           Defendant is charged with five offenses stemming from his presence and conduct inside

the U.S. Capitol on January 6, 2021: theft of governments property, in violation of 18 U.S.C.

§ 641; entering and remaining in a restricted building or grounds, in violation of 18 U.S.C. §

1752(a)(1); disorderly and disruptive conduct in a restricted building or grounds, in violation of

18 U.S.C. § 1752(a)(2); disorderly conduct in a Capitol Building, in violation of 40 U.S.C.

§ 5104(e)(2)(D); and parading, demonstrating, or picketing in a Capitol Building, in violation of

40 U.S.C. § 5104(e)(2)(G).

           On August 29, 2022, Pretrial Services filed a report with the Court stating that Defendant

was in violation of his conditions of release and asking the Court to revoke Defendant’s release.

See Status Report, ECF. No. 46 at 2 (hereafter “Status Report”). According to the Status Report,

Defendant last reported to Pretrial Services on August 2, 2022 and has failed to report since then.

Id. at 2. Pretrial Services’ multiple attempts to contact Defendant, including via phone, his new

phone number, and email, have been fruitless. See id. In addition, Defendant told Pretrial Services

that he was going to North Carolina to find housing for his mother and aunt but, as detailed below,

the Government was informed by an individual that Defendant had gone down to North Carolina

to live.

           On August 10, 2022, a bench warrant was issued for Defendant due to a failure to appear

in his local criminal case. See id.

           In addition, Defendant’s counsel reported to the Court on August 29, 2022, that she has not

been in contact with him for at least a week. See ECF No. 45.


                                                    2
           Case 1:21-cr-00642-JDB Document 54 Filed 09/02/22 Page 3 of 5




        Finally, the FBI case agent was contacted by an individual in North Carolina who stated

that Defendant was living with her. According to this individual, Defendant told her that he had

sold his property in Washington, D.C., and has approximately $240,000 in proceeds from the sale.

Defendant also told her that he intends to flee using these funds and is no longer living with her.

                                         LAW AND ARGUMENT

        Under 18 U.S.C. § 3148(a), “[a] person who has been released under section 3142 of this

title, and who has violated a condition of his release, is subject to a revocation of release, an order

of detention, and a prosecution for contempt of court.” Specifically, “[t]he judicial officer shall

enter an order of revocation and detention if, after a hearing, the judicial officer . . . (1) finds that

there is . . . (B) clear and convincing evidence that the person has violated any other condition of

release; and (2) finds that . . . (B) the person is unlikely to abide by any condition or combination

of conditions of release.” 18 U.S.C. § 3148(b).

        As set forth above, Defendant appears to have absconded from justice and is plainly in

violation of the conditions of his pretrial release. He is refusing to contact the Pretrial Services

Officer and has a bench warrant for his arrest for failure to appear in his local criminal case. In

addition, he apparently is no longer in contact with his lawyer in this case.

        Finally, Defendant has the means to flee, namely the proceeds from the sale of his property

in Washington. And he has expressed to a witness that he, in fact, intends to flee from justice.

Accordingly, the Government requests that the Court set an in-person hearing as soon as the

Court’s calendar permits, and revoke Defendant’s pretrial release. In the event Defendant fails to

appear for the hearing, the Government will seek a bench warrant and will ask the Court to vacate

the trial date.


                                                   3
          Case 1:21-cr-00642-JDB Document 54 Filed 09/02/22 Page 4 of 5




                                          CONCLUSION

       The Court should grant the government’s motion to revoke Defendant’s pretrial release

and, if necessary, vacate the October 5 trial date.



                                               Respectfully submitted,

                                               MATTHEW M. GRAVES
                                               United States Attorney
                                               D.C. Bar No. 481052

                                               By:

                                               /s/ Joseph McFarlane
                                               PA Bar No. 311698
                                               United States Department of Justice
                                               1400 New York Ave NW
                                               Washington, D.C. 20005
                                               Desk: (202) 514-6220
                                               Mobile: (202) 368-6049
                                               joseph.mcfarlane@usdoj.gov

                                               /s/ Andrew J. Tessman
                                               ANDREW J. TESSMAN
                                               Assistant United States Attorney
                                               District of Columbia – Detailee
                                               West Virginia Bar No. 13734
                                               300 Virginia Street
                                               Charleston, WV 25301
                                               (304) 345-2200
                                               Andrew.Tessman@usdoj.gov




                                                  4
          Case 1:21-cr-00642-JDB Document 54 Filed 09/02/22 Page 5 of 5




                                 CERTIFICATE OF SERVICE

       I certify that a copy of the Government’s Motion was served on all counsel of record via

the Court’s electronic filing service.



                                             /s/ Joseph McFarlane_________
                                            JOSEPH MCFARLANE
                                            Trial Attorney


Date: September 2, 2022




                                               5
